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                                        SITE SURVEY FOR HOME CONFINEMENT




                                         USA v. ALON ALEXANDER, et al
                                                 Case 24 Cr.676

                                                      PREPARED FOR:

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                                                       PREPARED BY:

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                                          3121 COMMODORE PLAZA, SUITE 302
                                                  MIAMI, FL 33133


                                                    December 31, 2024




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                                                                                            Client Work Product
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                                                                                              December 31, 2024




   INTRODUCTION

   V2 Global conducted an inspection of                                                           , Florida
   (                          ) on December 31, 2024.

   SUMMARY

   The                             building is within a complex accessed through a manned security gate.
   The rear of the property borders the                       .

   Access to the building is via key fob to the lobby.

   Unit    is one of several on the 8th floor accessed by the same elevators. There is a fire exit for the
   wing where Unit      is located. The unit is 1,157 square feet.

   Access to the unit is via a single door in the 8th floor corridor. Unit is a basic 2-bedroom apartment
   with a living/dining area leading to a screened balcony. From the living area, there is a primary
   bedroom, a secondary bedroom and a galley kitchen.




                                              Guarded front gate



                                                         2
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                               Front Door – view from lobby


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             8th Floor Hallway – View From Elevator Area - #   is last door on the right




                                      Front Door of Apt 834




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                                    Screened Balcony




                                    Primary Bedroom




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                         Secondary Bedroom – View from living room




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